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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

BROOK-HOLLOW CAPITAL, LLC                        §
Plaintiff,                                       §
                                                 §
                                                 §
vs.                                              §                     7:24-cv-466
                                                 §
GARCIA LAW GROUP, PLLC AND                       §
MARIA L. GARCIA,                                 §
Defendants.                                      §

                     ORDER ON DEFENDANTS’ MOTION TO DISMISS


         On _____________, 2025, the court considered Defendants’ Motion To Dismiss For Lack Of

Capacity; Motion To Dismiss For Forum Non Conveniens; Motion To Dismiss For Lack Of Subject-

Matter Jurisdiction; Motion To Dismiss For Failure To State A Claim; Alternative Motion To Stay

Action Or Abstain In Favor Of Pending State Action; Memoranda In Support Of Each Of The

Foregoing, And Subject To The Foregoing Motions, Verified Original Answer And Counter-Claim.

The court is of the opinion that the motion should be granted.

         IT IS THEREFORE ORDERED that Defendants’ Motion to Dismiss is granted and this case

shall be removed from this Court’s docket.

         SIGNED and ENTERED on ______________, 2025.




                                                     Presiding Judge




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